Case 2:23-cv-02802-WBS-CKD Document 1-10 Filed 12/04/23 Page 1 of 8




           EXHIBIT J
                     Case 2:23-cv-02802-WBS-CKD Document 1-10 Filed 12/04/23 Page 2 of 8




From: Diana Lopez <                                 >
To: Beth Bourne <                              >; Scott Love <                            >; Dana Christy <                             >
Cc: Darren Pytel <                         >; Gloria Partida <                         >; Bapu Vaitla <                      >; Will Arnold
<                          >; Josh Chapman <                             >; Lucas Frerichs <                       >; Jim Provenza
<                                >; Gary Sandy <                              >; Oscar Villegas <                              >; Angel Barajas
<                                >; Allie Snyder <                                 >; 'Mike Brown' <                         >
Sent: Friday, April 28, 2023 at 11:05:38 AM PDT
Subject: RE: Question about security guard request of Police Chief Pytel


Hi Ms. Bourne,



Thank you. Please feel free to do so. Take care.



Diana Lopez

(she/her)
County Librarian │Chief Archivist
Yolo County Library

Shipley Walters Center for Yolo County Archives and Library Services
                  │ Woodland, CA 95695

Office:              │Mobile:



We acknowledge that we are on the traditional territory and homelands of the Yocha Dehe Wintun Nation. For more information,
visit: https://yochadehe.org




From: Beth Bourne <                               >
Sent: Friday, April 28, 2023 10:59 AM
To: Scott Love <                              >; Dana Christy <                              >; Diana Lopez <                              >
Cc: Darren Pytel <                         >; Gloria Partida <                        >; Bapu Vaitla <                       >; Will Arnold
<                          >; Josh Chapman <                            >; Lucas Frerichs <                        >; Jim Provenza
<J                               >; Gary Sandy <                             >; Oscar Villegas <                               >; Angel Barajas
<                                >; Allie Snyder <                                >; 'Mike Brown' <                          >

                                                                                                                Exhibit J, Page 1
Subject: Re: Question about2:23-cv-02802-WBS-CKD
                    Case   security guard request of Police ChiefDocument
                                                                  Pytel   1-10              Filed 12/04/23 Page 3 of 8


Thank you for this note, Ms. Lopez.



I am meeting with DA Jeff Reisig this afternoon and hope you don't mind if I share it with him.



Best regards,

Beth Bourne




On Friday, April 28, 2023 at 10:50:45 AM PDT, Diana Lopez <                                    > wrote:




Dear Ms. Bourne,



Thank you for your reply. Scott Love’s response to you regarding the private security guards was consistent with the Library’s meeting room
policy, which prohibits use for programs that “interfere in any way with library services.” Events or programs that require the presence of security
in the library is clearly a disruption to library services. Library staff were not consulted before your event even though we previously advised you
that we spoke with Ms. Jojorian about not disrupting your events. Having the two security guards in the Library lobby caused a significant
disruption and resulted in a number of complaints and concerns from Library patrons and further required Library staff to dedicate time to your
event instead of providing Library services. Staff felt very stressed out, and patrons were afraid to come into the Library and felt unsafe with the
presence of the security guards. In light of this experience, security guards will not be permitted for future events and we will notify the Davis
Police Department regarding Library meeting room events to avoid any confusion going forward.



Please be advised that as of this writing, we will approve your community room reservation requests, but please note that any further disruptions or
violations of the Library’s policies that arise as a result of your event may result in a loss of room reservation privileges. Below is a list
summarizing the issues that have arisen to date so that you can ensure we do not run into repeated disruptions to Library staff time and Library
services.



       Failure to clearly identify on materials that your event is not sponsored by the Library and the presence of your group in the meeting room
       does not constitute Library endorsement of the policies or beliefs of you or Moms for Liberty: As previously noted, future violations of this
       requirement will result in immediate cancellation of your room reservation.
       Hiring of private security guards that has resulted in disruption and interference with Library services: You had private security guards at
       your April 22nd event. As noted above, we previously advised you that we spoke with Ms. Jojorian about not interrupting future
       community room events, but you did not consult Library staff prior to retaining private security guards. Having the two security guards in
       the Library lobby caused a significant disruption and resulted in a number of complaints and concerns from Library patrons and further
       required Library staff to dedicate time to your event instead of providing Library services. Staff felt very stressed out, and patrons were
       afraid to come into the Library and felt unsafe with the presence of the security guards. In light of this experience, security guards will not
       be permitted for future events. The Meeting Room Policy prohibits use for programs that “interfere in any way with library services.”

                                                                                                                    Exhibit J, Page 2
          Failure to respect
                        Case reservation times: Your group has come Document
                                2:23-cv-02802-WBS-CKD               to the Library early
                                                                                   1-10andFiled
                                                                                           tried to12/04/23
                                                                                                    get into the room
                                                                                                                  Pagewhen the 8
                                                                                                                        4 of   Library is finishing a
          library program, interrupting the program. In another instance, members of your group booked a 30-minute tech test but stayed for a couple
          of hours and were argumentative with Library staff when asked to leave since the reservation time had expired. These disruptions have
          required additional time and staff attention, again resulting in an interference with Library services.



I thank you for your cooperation.



Sincerely,




Diana Lopez

(she/her)
County Librarian │Chief Archivist
Yolo County Library

Shipley Walters Center for Yolo County Archives and Library Services
                  │ Woodland, CA 95695

Office:                 │Mobile:



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visit: https://yochadehe.org




From: Beth Bourne <                             >
Sent: Wednesday, April 26, 2023 1:05 PM
To: Diana Lopez <                               >; Scott Love <                              >; Dana Christy <                                 >
Cc: Darren Pytel <                       >; Gloria Partida <                           >; Bapu Vaitla <                          >; Will Arnold
<                        >; Josh Chapman <                               >; Lucas Frerichs <                           >; Jim Provenza
<                              >; Gary Sandy <                                >; Oscar Villegas <                                  >; Angel Barajas
<                              >; Allie Snyder <                                   >; 'Mike Brown' <
Subject: Re: Question about security guard request of Police Chief Pytel



Hi Mr. Love and Ms. Lopez (and Davis City Council Members and Yolo County Supervisors),



At your request, please see copied below my email, dated April 21 to City of Davis PD Chief Pytel regarding their advice for me to hire private
security guards (at my own personal expense of $400) for our April 22nd Colin Wright event at the Yolo County Davis Branch Library.



As you know, the need for security guards was in response to Anoosh Jojorian (Davis Phoenix Coalition Queer Teen Group leader) disrupting our
Affirmation Generation film screening at the Davis Branch Library on March 17. Anoosh Jorjorian was disrespectful and threatening towards the
                                                                                                                    Exhibit J, Page 3
film's executive producer,
                     CaseJoey Brite, as well as Allie Snyder. We have
                            2:23-cv-02802-WBS-CKD                     several witnesses
                                                                 Document      1-10 and    video
                                                                                        Filed    footage of Jorjorian's
                                                                                               12/04/23      Page 5behavior
                                                                                                                        of 8 which I am
happy to provide to everyone on this email thread.



I would also be happy to forward you my voicemail from April 17th, from Lieutenant James MacNiven, Davis PD. Here is a quick
summary, "Yes you are correct, we can alert our officers, they will be aware of the incident/event, if the time permits, we can help with
patrolling, we cannot guarantee anything. I agree with you, the appropriate course of action is to hire a private security company for your
event, it is totally your prerogative to do so."



Please let me know the best way to forward you Lieutenant MacNiven's voicemail so we can have a formal discussion about the next steps. I would
also like to ask that we have a discussion about Mr. Love's statement on April 22nd, when he repeatedly said to me and the other organizers 'that
having private security would not be allowed' in the Davis Branch Library even though it was not written in the Yolo County Library policies.



Lastly, please let me know what would give Mr. Love the authority to tell us that we were not allowed to have hired security, especially given the
threat of similar behavior from Anoosh Jojorian?



Sincerely,

Beth Bourne

Davis resident and registered voter (Democrat)




On Wednesday, April 26, 2023 at 11:00:57 AM PDT, Scott Love <s                                                      > wrote:


Ms. Bourne and Mr. Brown,

 Would you please share with me any e-mail conversations you had with Chief Pytel in regards him suggesting you hire
your own security since he was unable to provide an officer for the event?

 Thank you,

Scott Love
Library Regional Manager – West Yolo Region

Yolo County Library - Stephens-Davis Branch Library

                 , Davis CA 95616

              office

              cell



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                                                                                                                 Exhibit J, Page 4
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                  Case 2:23-cv-02802-WBS-CKD Document 1-10 Filed 12/04/23 Page 7 of 8




On Wednesday, April 26, 2023 at 11:00:57 AM PDT, Scott Love <   > wrote:



                                                                           Exhibit J, Page 6
Ms. Bourne and Mr. Case
                   Brown, 2:23-cv-02802-WBS-CKD                  Document 1-10 Filed 12/04/23 Page 8 of 8
Would you please share with me any e-mail conversations you had with Chief Pytel in regards him suggesting you hire your own security since he
was unable to provide an officer for the event?

    Thank you,

Scott Love
Library Regional Manager – West Yolo Region

Yolo County Library - Stephens-Davis Branch Library

                   , Davis CA 95616

                 office

                 cell



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THE HELPDESK (x5000) FOR ASSISTANCE]

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THE HELPDESK (x5000) FOR ASSISTANCE]




                                                                                                             Exhibit J, Page 7
